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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                               DELTA DIVISION

JAMES R DAVIS                                                            PETITIONER
ADC #143465

V.                          CASE NO. 2:20-cv-00117-JTK

GARY MUSSELWHITE
Warden, Grimes Unit ADC                                                 RESPONDENT

                                     JUDGMENT

      Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED,

and ADJUDGED that Davis’s Petition is DISMISSED WITH PREJUDICE.

      IT IS SO ORDERED this 21st day of October, 2020.




                                               ____________________________________
                                               JEROME T. KEARNEY
                                               UNITED STATES MAGISTRATE JUDGE
